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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

SAMANTHA CONNER                                                                       PLAINTIFF

V.                                                 CIVIL ACTION NO. 3:20-CV-057-MPM-RP

ALLTIN, LLC, et al.                                                                DEFENDANTS


                                              ORDER

       On January 3, 2022, this entered an order [Doc. 153] which stayed its November 30,

2021 order declaring certain Mississippi eviction statutes unconstitutional, pending legislative

review of the statutes in question. This stay was, by its terms, effective through the then-

scheduled end of the Legislative session on April 2, and this court did not anticipate the

possibility that the session might extend beyond that point. As it turns out, however, it was not

until April 4, 2022 that an enrolled bill amending the eviction statutes in question was signed by

both the Senate and House, and the bill in question has not yet (to this court’s knowledge) been

signed by Governor Reeves as of the writing of this order. See SB2461.

       While this court had hoped that the Legislature would act more quickly than it did, it is

pleased that it did, eventually, enact legislation which, upon first reading, appears to represent a

substantial improvement over the statutes which it declared unconstitutional. This court further

concludes that the same reasons which caused it to enact the stay in the first place dictate that it

be extended for a short period of time, pending consideration of the bill by Governor Reeves.

This court will therefore extend the stay in this case until SB 2461 has been signed by Governor

Reeves, or until it takes effect without his signature, whichever occurs first.1 This court’s



1
 This court notes that the Legislature appears to have acted unanimously in enacting the new
legislation, and there thus appears to be no doubt that it will eventually become law. See
                                                  1
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courtroom deputy will consult with the parties regarding the setting of a new trial date, and it

requests that the Magistrate Judge consult with the parties to determine whether a settlement

conference might prove useful in this case.

       So ordered, this, the 7th day of April, 2022.


                                        /s/ Michael P. Mills
                                        U.S. DISTRICT COURT




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